EXHIBIT C

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Page 1 |
1. UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

 

2 . .

3 In re: NEURONTIN MARKETING, SALES MDL DOCKET NO: ° 1629
PRACTICES, AND PRODUCTS os

4 LIABILITY LITIGATION ~ Master File No. 04-10981

5 /

6 _ THIS DOCUMENT RELATES TO:

7 ALL PRODUCTS LIABILITY

ACTIONS

co
™~

 

VIDEOTAPED
10 DEPOSITION OF: . CHERYL D. BLUME, Ph.D.
11 DATE: November 12, 2007
12 TIME: 9:25 a.m. to 6:07 p.m.
13 PLACE: 13902 North Dale Mabry Highway
. '  - Suite 122
14. Tampa, Florida
15 PURSUANT TO: Notice by counsel for
So Defendants for purposes
16 of discovery, use at
trial or such other
17 purposes as are permitted
under the Federal Rules:
18 - of Civil Procedure
19 BEFORE: VALERIE A. HANCE, RPR
Notary Public, State of
20 _ Florida at Large
21 Volume 1

Pages 1 to 370

 

 
    

VERITEXT CORPORATE SERVICES (800) 567-8658
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Page 2 : Page 4
1 APPEARANCES: 1 EXHIBITS (Continued)
2 Sniastel & Paes ID MARK
3 pes Broadway 2° 12 Composite, Graphs (7).....scsseees 178 175
“4 Kingston, New York 12401 3 13 Photograph.........ssessseseesesseeeee 196 196
(800) 634-1212 Ext. 2755 4 14 — PROLOGTADN......essesressnesersraneeees 197 197
@ RICHARD, BARNES, ESQUIRE 5 15 PDG FINAN CialS.....ssscsssesseesenseees 249 249
MICHAEL J. WASICKO, ESQUIRE 6 16  Collins-McFarland Research Report -....346 346
7 Godel, Devries, Leech & Dann, LP Divalproex, lithium and suicide among
8 20th Floor 7 Medicaid patients with bipolar
Baltimore, Maryland 21202 ;
9 (410) 783-4000 disorder
100 -andé- 8
11 —_- VINCENT E. GUNTER, ESQUIRE 9
LORI C. McGRODER, ESQUIRE (via telephone)
12 Shook, Hardy & Bacon, LLP 10
2555 Grand Boulevard 11
13 Kansas City, Missouri 64108-2613 12
(816) 474-6550
14 Attorneys for Defendant, Pfizer, Inc. 13
15. ANNAMARIE A. DALEY, ESQUIRE (via telephone) 14
Robins, Kaplan, Miller & Ciresi LLP.
16 2800 LaSalle Plaza 15
800 LaSalle Avenue. 16
17 Minneapolis, Minnesota 55402
(612) 349-8500 17
18 Attorney for Plaintiff, Assurant 18
19 ELANA GOLD, ESQUIRE (via telephone)
Law Office of Steven Hillyard 19
20 345 California Street 20
Suite 1770
21 San Francisco, Califomia 94104 21
(415) 334-6880 22
22 Attorney for Raymond Jennings, M.D. 23
23 ALSO PRESENT: 34
KEITH ALTMAN, Finkelstein & Partners
24 DAVID LEGGETT, Videographer 25
25
Page3] - Page 5
1 INDEX PAGE 1 THE VIDEOGRAPHER: This is the videotaped
2 DIRECT EXAMINATION BY MR, BARNES. 6° 2 ‘deposition of Cheryl Blume, Ph.D., being held in
3 CERTIFICATE OF OATH..... :
4 REPORTER'S CERTIFICATE 3 the offices of Pharmaceutical Development Group
5 4 located at 13902 North Dale Mabry Highway in Tampa,
oo ONES op MARK 5 Florida, on November 12th, 2007. The time is
7 1 -First Amended Notice Of ..ssssesssoes 9 9 6 9:25 a.m.
eons . 7 My name is David Leggett. I'm the videotape
9 2 Hard Drive (Retained by counsel)........ 13 8. specialist. And the court reporter is
10 2A __ Directory of Contents on Hard Drive..... Ma . +
113 Disk of Neurontin/gabapentin sense 4 «14 9 Valerie Hance. Will counsel introduce themselves.
D Bibliography 10 MR. BARNES: Richard Barnes on behalf of
3A Directory of Documents Found on Disk... 15 14 ii Pfizer.
B . 12 MR. GUNTER: Vince Gunter on behalf of Pfizer,
4 — Exhibit Number Skipped '
14 _ mp 13 defendants.
5 RP OOK rere oe 14 MR. WASICKO: Michael Wasicko on behalf of
6 Correspondence and Communications ...... 36 «36 15 Pfizer.
16 _ Removed from Notebook (Exhibit 4) . .
17 7 ” DiskInRe: Neurontin Keith Altman... 45 45 16 MR. FROMSON: Kenneth Fromson on behalf of the
Le ADE Files (10/28/07) 17 product fiability plaintiffs in the MDL, liaison
8 Yellow Legal Paper for Requested ....... 117 117 | 18 ~ counsel in the New York coordinated litigation, and
x 9 a tor Industry, Good 118 118 119 counsel for plaintiffs in the action of Nicolette
Pharmacovigilance Practices and 20 Crone vs. Pfizer, Lake County, California.
21 Pharmacoepidemiologic Assessment, : 2 i .
March 19th, 2005, Clinical Medical 21 MR, ALTMAN: Keith Altman, nonattorney with
22 22 Finkelstein & Partners.
10 = Map of Terms for Suicidal and .......... 160 «159 * ‘
23 Self Injurious Behaviors 23 MR. BARNES: Counsel on the phone, please
24 11 —Pharmacopeidemiology, Fourth Edition, .. 164 164 24 - identify themselves.
og PY Brian Strom (Page 171) 25 MS. DALEY: Annamarie Daley, counsel for
2 (Pages 2 to 5)

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Q. Now, did you ask -- did you ask for more

 

1 A. "1-800-LAW-FIRM." 1 information concerning the nature and extent of the
2 Q. And would you describe the picture for the 2 attorney advertising in 2003 when forming your opinions §
3 record, please, that is between the word "Suicide" and| 3. -in this case?
4 "1-800-LAW-FIRM."” 4 A. I knew that there was attorney information in
5 A. I think it’s a close-up of the picture that 5 2003.
6 was in the earlier one. 6 Q. Advertising?
7 Q. And what -- what -- can you describe it for 7 A. Advertising for cases, yes.
8 the record, please. 8 Q. And do you know if it ran nationwide? Did you ff
9 A. It appears to be a lady's silhouette with her 9 make any inquiry as to the extent of the advertising in - :
10 _ hand on a loop of some sort. 10 2003? ,
11 = Q.._: Is it -- and is it a loop or does it look like 11 A. No.
12 anoose? 12 Q. Did you make any inquiry as to the extent of
13 A. Well, I don't know. I don't know. I guess it’ |13 the attorney advertisement for Neurontin cases in 2004? :
14 could be either. ‘I don't know. I don't think I've ever | 14 A. I don't even know if it was still going on. I :
15 seen a real noose. 15 don't know.
16 Q. Okay. Can you publish that to the jury, 16 Q. Did you make any inquiry as to the extent of
17 please..- 17 the plaintiffs attorney advertising for Neurontin cases
18 MR. FROMSON: Just note my objection to the |18 in 2005?
19 document. Lack of foundation. 19 A. No.
20 BY MR. BARNES: 20 Q. Did you make any inquiry as to the extent of
21 Q. Can you hold it up, please. 21 attorney advertising for Neurontin cases in 2006?
22 Do you understand this to be attorney 22 A. No.
23 advertising that was referred to in your report at 23 Q. Did you make any inquiry as to the extent of
24 page - at paragraph 215? 24 attorney advertising for Neurontin cases in 2007?
25 A. I just -- 25 A. No.
Page 199 Page 201
1 MR. FROMSON: Just note my objection to form. | 1 Q. Do you think that -- that attorney advertising
2 Do you mean does she refer to this as this is 2 for Neurontin cases, as it pertains to suicide between
3 the advertising that's referenced or is it 3 2003 and 2006, could artificially stimulate reports of
4 advertising in general? 4 adverse events pertaining to Neurontin?
5 BY MR. BARNES: , 5 MR. FROMSON: Just note my objection as to the
6 Q. Is this attorney advertising for Neurontin 6 form of the question.
7 lawsuits and suicide? 7 ’ THE WITNESS: Well, there is suicide events
8 A. This -- 8 with Neurontin from the beginning of time with
9 MR. FROMSON: Objection as to the form of the | 9 Neurontin. I mean, they were in the clinical
10 question. Lack of foundation. 10 trials, But it's conceivably that the events, if
11 THE WITNESS: I refer here to a series of 11 these indeed are true and were published, could
12 documents that I think one of your in-house 12 have stimulated reports. I mean, the events with
13 counsel, last name Su, it's her records that I'm 13 Dr. Franklin could have stimulated reports. I
14 referring to. And she discusses in one of these 14 don't know.
15 that there has been an attorney placement -- 15 MR. BARNES: Move to strike. Would-you read
16 placement by an attorney's firm for suicide. And 16 back my last question. I want her -- I would like
17 I'm pretty confident that that's to what I'm 17 for her to answer my question, please.
18 referring. 18 (The reporter read the portion requested.)
19 BY MR. BARNES: 19 BYMR.BARNES: _
20 Q. So did you — when did you -- when did you -- | 20 Q. Please answer that question. ;
21 well, how did you -- so you know there was a document | 21 MR. FROMSON: Note my objection to the form of
22 that talks about attorney advertising in 2003 that 22 the question. And I'l! also object that it's been i
23 you've reviewed and put into your report, correct? 23 asked and answered.
24 A. I reviewed this from your database, yes. | 24 You can answer.
25 25 THE WITNESS: It is possible that advertising

 

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1 may have impacted the number of reports. 1 Q. Where is that -- where is that documented in
2 BY MR. BARNES: , 2 your report?
3 Q. Did you undertake any analysis to measure the | 3 A. Idid a cut at 2002?
4 effect of attorney advertising on stimulating reports 4 Q. Yes.
5 after -- after January 1, 2003 -- 5 A. Well, it's --
6 MR. FROMSON: Objection. 6 MR. FROMSON: Just note my objection as to the
7 BY MR. BARNES: 7 form to the extent she's already answered.
8 Q. -- for Neurontin and suicide? 8 THE WITNESS: I think the title of it is 2002
9 ‘MR, FROMSON: Objection as to the form.. 9 — to 2000 — 2002 to 2006.
10 . THE WITNESS: I didn't make an effort to 10 BY MR. BARNES:
11 evaluate the impact of either events, either the 11 Q. What analysis -- what analysis are you
12 guilty plea or the suicide events. But I broke one 12 referring to in that last answer, in your report? I'd
13 of the databases at 2002, so that would come before | 13 _ like to see it.
14 any of these issues. 14 A. Well, I did a whole section of the report from |
15 MR. BARNES: Move to strike. Would you please | 15 2002 on and prior up until 2002 and then following 2002. :
16 read back the last question. And I'd like an 16 QQ. Soyou did a -- so you did a cut in 2002 that :
17 answer to that question, please. 17 stopped in 2002?
18 ‘(The reporter read the portion requested.) 18 A. Okay. Let me show you.
19 MR. FROMSON: Note my objection to the 19 "94 to '96, '96 to 2002, 2003 to present. And
20 question as being asked and answered. 20 the 2002 would have been before both the guilty plea and i
21 THE WITNESS: Well, I feel that I've answered 21 these advertisements, if what you're telling me is true, d
22 it fully, but I will repeat the answer. 22. in these brands in 2003.
23 I did not make an attempt to look at any 23 Q. So is the reason why you -- you did the cut
24 impact, if there was an impact, if any, on 24 that stopped in 2002 was the -- is the potential effect
25 advertising, from 2003 on. 25 of notoriety bias on events reported after --
Page 203 Page 205
1 BY MR. BARNES: 1 A. It was -- F
2 Q. On -- on reporting of adverse events to FDA, 2 Q. -- after December 31st, 2002?
3. correct? 3 A. It was primarily to -- we had to find -- find
4 A. I did not make an effort to look at if there 4 some way of breaking up this huge data set. So one of
‘5 was an impact. 5 the ways that we did it was that we did this cut at '94
6 Q. When you were retained in 2003, did you advise | 6 to ‘96, and then did one at postherpetic neuralgia. And
7 Mr. Finkelstein's firm that attorney advertising could 7 Iremember there was some discussion, because
8 have an adverse effect on the FDA database as it 8 postherpetic neuralgia is such a small indication,
9 pertains to reports of suicidal behavior? 9 whether it would make any significant difference in the
10 MR. FROMSON: Just note my objection as to the |10 database. But it was also before the publicity of the
il form of the question. 11 _ illegal activities by the Pfizer defendants and before
12 THE WITNESS: May I answer? ‘112. the advertising began.
13 MR. FROMSON: Yeah, absolutely. 13° Q. So you would agree that after 2002 there were
14 THE WITNESS: What I said with the attorneys? | 14 significant concerns -- or you had concerns that were
i5 MR. FROMSON: Yes. . 15 _ significant enough that you wanted to do a cut prior to
16 THE WITNESS: I think it was discussed in one 16 2002 because of the possible effects of notoriety bias ‘
17 conversation and we took that into consideration. 17 on adverse event reporting to the FDA database, correct?
18 I took that into consideration, as I recall, when 18 A. Well, that - : :
19 we did -- we did somewhat of a data cut, an 19 MR. FROMSON: Objection as --
20 arbitrary data cut at -- in 2002. And we did 20 THE WITNESS: -- isn't what I said.
21 another one at -- yeah, we did an -- it was 21 MR. FROMSON: Objection as to form. Misstates
22 somewhat in 2002 to coincide with postherpetic, but | 22 her testimony.
| 23 that was before the public announcement, both sets | 23 THE WITNESS: That isn't what I said. What
| 24 of public announcements. 24 I--
25 BY MR. BARNES: 25 MR. BARNES: Read back that question. I want
52 (Pages 202 to 205)

 
  
   
  
   
   
  
   
  
  
  
  
  
  
    
     
 

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